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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


FERDINAND BENJAMIN, Individually
and as the Personal Representative of the
Estate of ENOCK BENJAMIN, Deceased

                      Plaintiff,

               v.                            Civil Action No. 2:20-cv-02594-JP

JBS S.A., et al.,

                      Defendants.


                DEFENDANTS’ RESPONSE TO PLAINTIFF’S
    MOTION FOR LEAVE TO FILE NOTICE OF SUPPLEMENTAL AUTHORITY
            IN SUPPORT OF PLAINTIFF’S MOTION TO REMAND



Dated: November 12, 2020                    s/Molly E. Flynn

                                            Molly E. Flynn (Pa. ID No. 205593)
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                                            Attorneys for Defendants JBS USA Food Co.,
                                            JBS USA Holdings, Inc., JBS Souderton, Inc.,
                                            Pilgrim’s Pride Corp., and JBS S.A.
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                                                 ARGUMENT

           Defendants JBS USA Food Company, JBS USA Holdings, Inc., 1 JBS Souderton, Inc.,

Pilgrim’s Pride Corporation, and JBS S.A. (together, “Defendants”) respectfully submit this

response to Plaintiff’s motion for leave to file a notice of supplemental authority.

           Although Defendants do not oppose Plaintiff’s request to submit additional authority for

the Court’s consideration, Defendants do question the relevance of that authority to the issues

before the Court. In fact, it is difficult to see any issue on which Wiles could prove instructive.

           Wiles resolved a motion to remand where the sole basis of federal jurisdiction asserted by

the defendants was complete preemption under the PREP Act. Defendants here, by contrast, did

not invoke—or, for that matter, even cite—the PREP Act in support of their removal of this case.

Nor have they argued complete preemption of any of Plaintiff’s claims, nor invoked such

preemption as the basis of their removal. To the contrary, their claim to federal-question

jurisdiction rests entirely on Grable & Sons Metal Products, Inc. v Darue Engineering and

Manufacturing, 454 U.S. 308 (2005), and its progeny. 2

           What is more, Grable-based federal-question jurisdiction is not the only basis of federal

subject-matter jurisdiction invoked in Defendants’ removal. They also rely on the fact that, once

the fraudulently joined JBS Souderton, Inc., is dismissed from this action, complete diversity

will exist between the parties. Removal is therefore also appropriate under 28 U.S.C. §§ 1441

and 1332. Diversity jurisdiction was not raised in Wiles; as noted, the only basis for federal

jurisdiction addressed in the opinion was complete preemption under the PREP Act.




1
 As previously briefed, JBS USA Holdings, Inc. has been defunct for 5 years, and took no action that would relate or
give rise to Plaintiff’s claims. Defs.’ Am. Mot to Dismiss at 10–12, ECF No. 15.
2
    See Defs.’ Not. of Removal at 13–18, ECF No. 1; Defs.’ Opp’n to Pl.’s Mot. to Remand at 22–27, ECF No. 21.

                                                         2
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        Moreover, because Wiles arose in the context of a motion to remand, it has no bearing at

all on the issues raised in Defendants’ various motions to dismiss—including, in particular, the

primary-jurisdiction doctrine discussed in Defendants’ own motion for leave to submit a notice

of supplemental authority. ECF No. 43 Ex. 1 (discussing Palmer v. Amazon.com Inc., Civ. No.

1:20-cv-02468).

        Given the above, it is difficult to see why Plaintiff proffers this decision at all—and why

he does so now, when he received the opinion nearly a month ago, predating Palmer by two

weeks. But be that as it may, Defendants ultimately have no objection to the Court’s affording

Wiles the weight it is due in light of its salience to this case. Which is to say, none at all.



Dated: November 12, 2020                                Respectfully submitted,

                                                        s/Molly E. Flynn
                                                        Molly E. Flynn (Pa. ID No. 205593)
                                                        Mark D. Taticchi (Pa. ID No. 323436)
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                                                        JBS USA Holdings, Inc., JBS Souderton, Inc.,
                                                        Pilgrim’s Pride Corp., and JBS S.A.




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                              CERTIFICATE OF SERVICE

       I, Molly E. Flynn, hereby certify that on November 12, 2020, I electronically filed the

foregoing Defendants’ Response to Plaintiff’s Motion for Leave to File Notice of Supplemental

Authority in Support of Motion to Remand with the Clerk of the Court using the CM/ECF system,

which will send notification of such filing to counsel or parties of record electronically by

CM/ECF.


                                                  s/Molly E. Flynn
                                                  Molly E. Flynn

                                                  Attorney for Defendants JBS USA Food Co.,
                                                  JBS USA Holdings, Inc., JBS Souderton,
                                                  Inc., Pilgrim’s Pride Corp., and JBS S.A.
